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                 Case 3:94-cr-00044-LRH-WGC                  Document 1172        Filed 05/12/08         Page 1 of 2
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                $.                                      )
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               MAURI
                   CC KRl5TlAN LrC,                     )
                                         .              )
               Date ofPrevlousJudgment:June 22,1995                         PautRlddte
               (Use DateofLastàmendedJudgment,ifApptlcabte) Defendant'sAttorney

                        ORDERREGARDING MOTION FOA SENTESCEREDUCTIO/IPUM UANTT0 18 U.S.C.35B2(c)(2)
                          Opon motion of : the defendant        the Directnrofthe sureauofPrîsons        tbe Court
               under18U.S.C.3582(c)(2)fora reductionintheterm ofimprisonmentimposedbasetonaguîdetine
               sentencink range thatha!subsequentty been lewered and made retroactiv'
                                                                                    e by the Pnited states
               SentendnjCommissionpursuantto28U.S.C.994(u),&ndhavingcontfderedsuchmotion,


               IT IS ORDERED thatthe mntionis:
                             DENIED. .Q.GM NTED,an1thedefendant'sprevioustyimposedsentencenf
                                     imprisonment(asreftectedin thetastjudçmentlssuedQf 240MONTHS
               months,isreducedto            DNE HUNDRED NINETY-FIVE(195)MONTHS

               1. COURT DETERMINATION OF GUIDELINEPASGEtpriortoAny Departures)
               PreviousOffense Levet:    37                       àmended offense kevel: 35
               CrimlnatHtstcry Catejory:    I                     CriminalHistol Category:    I
               PreviousGuidetine Range;210 to 262 months          Amended Guidetine Range:168to 210 months


               l1. SENTENCE RELATIVE TO AMENDED GUI:ELINE RANGE
                  ..,X- Thereducedsentenceiswithintheguidelinerançe.
                           n e previousterm ofimprisonmentlmpesed waslessthan the gufdeline range applicabte to
                          :he defendantatthe time ofsentence,a:a resultofa departureorRule 35 reductîon,and the
                          reduced sentence iscompasably lessthan tàe amended jufdelfne range.
                          Otherle& tasnl:
               111. ADDITIONAL CDMMENTS
               The Courthasa ccncern aste the dangerto the pubtîcarissng beciuse pfdefenuant'sretease.                           '
               However,iefendanthasachîevedagood ratinjfol'adjustmenttosncarceratlonfrom tbeBureauof
               Prisons;hash&d enty s1xwriteupswithin the pM t13plusyears;îspresentty situated ata m inimum
               Securityprison;5.
                               5stzbjecttostlpemisedreleôsefo:anaddltiorlalperjodofffveyears,andhas
               underu kento rehabititate himsetfin prison.
b',?y.12. 2(1()8 1:(.5?h/I                                                           h!û,6824. ?. 11
        Case 3:94-cr-00044-LRH-WGC           Document 1172        Filed 05/12/08       Page 2 of 2



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                                AN                                    order-Page'W o ofTwo
     Case Humber: 03:94-CR-44.ECR

     Excepta.îprovided above,aLtprovisionsofthe Judgm entdated June 22.1995 shaltremainin effect.
     IT lS 50 ORDERED.
     OrderDat:z              7 $                                     C           w
                                                              Judge'!signature

     Effective Date:Ma? 12.20Q8                           EDWARD C.REiD UJR..66NIOR U5DJ
